






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-02-081 CV


____________________



DII INDUSTRIES, LLC, FORMERLY KNOWN AS 


DRESSER INDUSTRIES, INC., Appellant



V.



DOCK SHAHEEN FARRIS, DECEASED, ET AL., Appellees






On Appeal from the 128th District Court


Orange County, Texas


Trial Cause No. A-920961-SC(16-DR)






     MEMORANDUM OPINION 


	On February 26, 2004, we abated the appeal on suggestion of bankruptcy.  Tex.
R. App. P. 8.  The appeal is hereby reinstated.  Tex. R. App. P. 8.3(a).  

	The appellant, DII Industries, LLC, formerly known as Dresser Industries, Inc.,
filed a motion to dismiss this appeal.  The appellant alleges it no longer desires to
prosecute this appeal because the parties have settled their dispute.  The Court finds that
this motion is voluntarily made by the appellant prior to any decision of this Court and
should be granted.  Tex. R. App. P. 42.1(a)(1).  No other party filed a notice of appeal. 
The motion to dismiss is granted and the appeal is therefore dismissed.

	APPEAL DISMISSED.

								___________________________

								       CHARLES KREGER

										Justice


Opinion Delivered February 16, 2006 

Before McKeithen, C.J., Kreger, and Gaultney, JJ.


